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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF TEXAS
DALLAS DIVISION

Civil Action No. 3-06cv2322-N
BLANCA VALENZUELA, MARGIE SALAZAR, JOSE A. SERRATO,
JOSIE RENDON, CLARA TOVAR, CONSUELO ESPINO, MARIA
AVILA, ERNESTINA NAVARRETTE, MARIA E. MUNOZ, AMANDA
SALCIDO, CANDELARIO G. ORTEGA, MARIA ORTIZ, JOSE
OLIVA, RAFAELA CHAVEZ, ELODIA ARROYO, SUSANA CARDIEL,
GRACIE RIOS and LEONEL RUIZ, individually and on
behalf of all others similarly situated,
Plaintiffs,

Vv.
SWIFT BEEF COMPANY, INC., d/b/a SWIFT COMPANY, SWIFT &

COMPANY, HICKS, MUSE, TATE & FURST, INC., HM CAPITAL
PARTNERS OF DALLAS, LLC, and JOHN DOES I-V,

Defendants.

DEPOSITION OF: JAMES A.R. HAMILTON - April 9, 2008

PURSUANT TO NOTICE, the deposition of
JAMES A.R. HAMILTON was taken on behalf of the
Plaintiffs at 1770 Promontory Circle, Greeley,
Colorado 80634, on April 9, 2008, at 8:50 a.m.,
before Sharon L: Szotak, Registered Professional
Reporter, Certified Realtime Reporter, and Notary

Public within Colorado.
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APPEARANCES

For the Plaintiffs:

For the Defendants:

ERIC D. PEARSON, ESQ.

Heygood, Orr, Reyes &
Bartolomei

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WHEREUPON, the following proceedings

were taken pursuant to the Federal Rules of Civil

Procedure.

JAMES A.R. HAMILTON,
having been first duly sworn to state the whole truth,

testified as follows:

EXAMINATION
BY MR. PEARSON:
Q. Would you please state your full name for
the record.
A. James Ashley Robson Hamilton.
Q. Mr. Hamilton, my name is Eric Pearson. I

represent the plaintiffs in this lawsuit.

Have you ever had your deposition taken

before today?
A. Yes.

Q. I'm going to go over some of the ground
rules with you. You obviously understand that the
court reporter seated to your left is taking down
everything that you and I say, correct?

A. Yes.

Q. In order to make her job easier, I need to
ask you to answer out loud to all of my questions and

avoid nodding your head or using phrases like uh-huh or

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huh-uh. Can you do that for me?

A. Yes.

Q. If you don't understand my question, will
you please let me know and I'1l try to rephrase it?

A. Yes.

Q. Do you understand that when your
deposition is completed, your testimony will be printed
up in a booklet form and you will have an opportunity
to review it for accuracy?

A. Yes.

Q. And you understand that the testimony
you're giving today has the same force and effect as if
you were giving it in front of a judge and jury? Do
you understand that?

A. Yes.

Q. Do you understand that your deposition

testimony can be used at the trial of this case?

A. Yes.

Q. What's your current job position with
Swift?

A. Do you mean my title?

Q. We'll start with that, yeah.
A. I'm the director of corporate compliance.

Q. How long have you had that position or

that title?

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A. August 2006, I believe.

Q. What are your job duties?

A. I'm responsible for the employment law
compliance. Not Sarbannes-Oxley.

Q. Who do you report to?

A. I report to Doug Schult.

Q. Do you have any direct reports to you?

A. Yes.

Q. Who are they?

A. Nubia Chavez, Ruben Flores.

Q. Anyone else?

A. No.

Q. Do you have any legal training? Are you a
lawyer?

A. I'm not a lawyer.

Q. Do you interact with the legal department
in carrying out your day~ to-day job responsibilities?

A. Yes.

Q. Anyone in particular?

A. Chris Gaddis, Chad Hamilton.

Q. Who had -- was there someone called
director of corporate compliance prior to you taking
that position in approximately August 2006? Or was

that a newly created position?

A. The position -- the position's not a new

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position. I don't know if the title was the same.

Q. Did you replace -- when you took that
position in August 2006 or thereabouts, did you replace
someone else who had had that position?

A. It was not a direct replacement.

Q. Okay. Had there been someone who was in
charge of employment law compliance for Swift prior to

you taking on those responsibilities in approximately

August 2006?

A. Yes.

Q. And who was that?

A. Tim Hill.

Q. And how long had he been in that role? Do
you know?

A. I don't know.

Q. Do you know if he had someone before him
doing that job?

A. I don't know.

Q. How long have you been with Swift in one
capacity or another?

A. 1995. August of 1995,

Q. Can you walk me through just briefly in
general terms your job history with Swift from 1995 to
August of 2006?

A. Yes.

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1 Q. Okay. What was your first position?
2 A. My first position was quality control
3 inspector.
4 Q. What did that entail?
5 A. It entailed making sure that the product
6 met the specifications for the customers.
7 Q. Were you working at one of the facilities
8 or here in the corporate -- or wherever the corporate
9 headquarters was at the time?
10 A. One of the. facilities.
11 Q. Which one was that?
12 A. Worthington, Minnesota.
“23 Q. How long were you in that position?
14 A. Approximately one year.
15 Q. What was your next position?
16 A.. My next position was assistant human
17 resource manager.
18 Q. Was that for a particular plant?
19 A. Yes.
20 Q. Worthington?
21 A. Yes.
22 Q. How long were you in that position?
23 A. Approximately one year.
24 Q. What was your next position?
A. Employee relations manager.

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Q. What did that involve?

A. That involved working with the HR
director, ultimately to replace the HR director, with
specific function -- duties on reducing employee
turnover.

Q. Was that at the Worthington plant?

A. Yes.

Q. What steps did you take to help reduce

employee turnover?

A. I spent a lot of time working in the
community.
Q. Doing what?

A. Quite a number of things.

Q. Just give me some examples.

A. Meeting with city officials, serving on
different boards, working with the school district,
soccer fields.

Q. Were those things just trying to improve
the community and to make it a more appealing place to
live? Or how did that tie into retaining employees?

A, There had been a study by Dr. Joseph Diaz
at Southwest State University that indicated that
employee retention was directly tied to community.

Q. And the types of efforts that you just

described, did those occur at other plants, to your

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knowledge?
A. I believe so.
Q. Was that a companywide decision to become

involved in those types of areas?

A. Not initially. My initial responses were
my own. I can't answer for the rest of the company at
that time.

Q. Did that eventually sort of become a
corporatewide philosophy, that in order to help retain
employees, you'd go into the community and try to
improve the community?

A. With my involvement at the corporate
level, to my knowledge, it's always been a corporate
philosophy to reduce turnover. And that involves
getting outside the four walls of the plant.

Q. What was your next position after employee

relations manager?
A. HR director.

Q. And was that plant specific, or is that

the Worthington plant?

A. Yes.

Q. What year -- how long were you in that
prior position of employee relations manager?

A. Let me think. Maybe seven years.

Q. And then as HR director of the Worthington

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Plant, what were your job duties in that position?

A. I was responsible for the entire human

resource function of the facility.

Q. Did that include hiring practices?

A. Yes.

Q. How long were you in that position?
A. Three years.

Q. And what was your next position?

A. Director of corporate compliance.

Q. Which is your current position?

A. Yes.

Q. Let me ask you to take a look at this

Exhibit 13 from the Doug Schult deposition. And I want
to just make sure that I understand which topics you're
testifying on today.

MR. PEARSON: And I'm happy -- if you and
I just want to reach an agreement or I can ask him.
Whatever you prefer. I'm just referring to your
February 21st letter.

MR. YOULE: Well, if you look at -- if you
look at Mr. Higgins' January 25th letter, which was
marked in Mr. Schult's deposition as Exhibit 13,

Mr. Hamilton, as opposed to Mr. Schult yesterday,
wasn't requested in individual deposition. So why

don't you just go through and ask him. I'm not sure he

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knows.
MR. PEARSON: Okay.
Q. (BY MR. PEARSON) Are you looking at
Exhibit 13, the letter there?

A. Yes.

Q. Starting off on the second page where you
just were, looking at topic 10 and 11, would you read
those to yourself. And my question is, to your
knowledge, are you the person most knowledgeable on
those topics to testify on behalf of Swift?

A. Yes.

Q. And if you would turn to the next page and
read to yourself topics 16 through 20. And I'm going
to ask you the same question.

A. Yes.

Q. Okay. And finally on the next page,

topics 22 through 25, the same question.

A. (The deponent perused the exhibit.)
Yes.
Q. Have you ever been interviewed by ICE with

respect to any issues relating to the employment of
illegal aliens or persons who have committed identity
theft?

A. Would you rephrase the question.

Q. Sure. You're aware of the ICE

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investigation that occurred in 2006 and then culminated
in the ICE raids in December 2006, correct?

A. Yes.

Q. ° Were you ever interviewed by ICE or any

other governmental agency relating to those issues?

A. No.

Q. Have you ever been interviewed by the FBI?
A. No.

Q. Or anyone with the Justice Department?

A. Yes.

Q. Okay. And when were you interviewed by

the Justice Department?

A. I was interviewed by the Justice
Department somewhere between 2000 and 2002.

Q. What did that relate to?

A. That related to a charge of discrimination
brought by the Office of Special Counsel that we were,
in fact, going too far to try to verify the work status ~
of our employees.

Q. Any other interviews by the Justice —
Department besides that one?

A. No.

Q. I want to talk a little bit to you about
different hiring practices of Swift. Does Swift --

since your time with the company, has Swift ever

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engaged in recruiting efforts for employees at its
processing plants in foreign countries?

A. No.

Q. Never placed any radio TV, or newspaper
ads in any foreign countries?

A. No.

Q. What languages does Swift use in its
advertising or written materials intended to recruit
employees for its processing plants?

A. I don't know that I can answer every
language. We've got a lot of languages in the plants.

Q. Okay. Obviously English and Spanish; is
that correct?-

A. Yes.

Q. And what about the Mayan dialect? Are you
familiar with that?

A. The what?

Q. Mayan. Spoken by people from Guatamala?

A. I didn't know there was a Mayan dialect.

Q. Do you know what language people from
Guatamala speak, if it's a dialect of. Spanish?

A. No.

Q. Who would be knowledgeable as to what
languages Swift uses in its written materials related

to recruiting or hiring production plant employees?

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A. Well, I'm knowledgeable. And each of the
plants, if they had any additional languages that they

used, would also be knowledgeable. The HR director at

each facility.

Q. Does Swift use advertisements for
recruiting?

A. Yes.

Q. And who is in charge of producing those

advertisements? Is there a department within Swift, or

is there an outside vendor that does that?

A. Well, there's not a department within
Swift.

Q. Do you use an outside vendor, then?

A. Not a particular vendor.

Q. Okay. Well, for example, in 2006 when
Swift decided to hire additional employees due to the
imminent ICE raids, and there was advertising done, who
was in charge of that advertising?

A. Well, depending on each location. If I
wanted to hire somebody -- for example, if I'm in the
Worthington plant and I want to hire somebody, T'd
contact the local radio station and ask to run an ad.

Q. And who writes the copy? Someone from

Swift or someone from the -- do you hire an outside

vendor for that?

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A. Typically we would give a radio station --
for example, using my example of Worthington, if I was
to contact the local radio station and ask them to run
an ad, I'd give them some details of the job. And then

they would put that in the form of an ad for our

approval.

Q. And in 2006 when there was an effort made
to -- Mr. Schult said overhire or overstaff the plants
in anticipation of the ICE raids, was the advertising
directed from corporate, or was it done ona
plant-by-plant basis?

A. On a plant-by-plant basis.

Q. Were you involved in any way in that
personally?

A. At some point, I was, yes.

Q. And what was your involvement?

A. My involvement was related -- I think I

got involved after the raids. I think your question

was prior.

Q. Okay. What did you do after the raids in

that area?

A. After the raids, I helped coordinate

recruiting efforts related specifically to the Cactus

facility.

QO. And what were the recruiting efforts at

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the Cactus facility post raid?

A. That's a very broad question.

Q. Well, tell me some of the things -- I
mean, tell me some of the things that you did to try to
recruit for the Cactus plant after the ICE raids?

A. We went to local area job services. We
placed an ad on a billboard. We hada hamburger feed
outside the Tyson plant in Amarillo. We drove to every
town that had a similarly situated industry within a
multi-state area.

Q. Did you have any input on the increase in

wages in October 2006 at the various processing

centers?
A. ‘No.
Q. You were aware of that, I assume?
A. Was I aware?
Q. ‘Yes.

A. A little bit. I couldn't tell you the
details.

Q. Were you aware of the opening of
recruitment centers or hiring centers in. El Paso and
McAllen in that time frame?

A. Yes.

Q. And those centers were recruiting for all

the production facilities?

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18.

A. Initially they recruited specifically for
the Cactus plant, because that had the greatest need.
But at some point, then, we recruited for any facility
that had a need.

Q. Did you participate in the decision to

place those recruiting centers in El Paso and McAllen?

A. Yes.
Q. And why were those cities chosen?
A. Those cities were chosen because they had

favorable wage comparisons, high unemployment, and
dense populations.

Q. Why did Cactus have the greatest hiring

need?
A. I don't know.

Q. Had they just lost the most emplyees? Or

when you say Cactus had the greatest need, what do you

mean by that?

A. They. had the greatest number of -- they
had the largest number of Shortage. The shortage was

greater there than in other locations.

Q. Does Swift also use workforce recruitment

centers to hire?

A. Yes.
Q. And how does that work?
A. For example, when we went to the Tyson

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facility in Amarillo, contact the local workforce
center and schedule a time to be there. And then we
include in our advertising on the radio or the
newspaper or the billboard or whatever it is we're
going to advertise that we're going to be at that
workforce center available to do interviews.

Q. And are those workforce recruitment
centers private businesses, or is that some type of

government agency?

A. Government agency.

Q. Do you know who runs that?

A. Each state has their own set of workforce
centers.

Q. Did those workforce centers also typically

make job postings on the Internet?

A. Yes.

Q. And does Swift monitor those, the content?
A. I'm not sure I understand the question.
Q. Does Swift have any input on the content

of those job postings on the Internet?

A. Yes.

Q. And what is that? Do you write the
posting or do you just review it and approve it?

A. Well, it can be done one of two ways. One

is, we can post it directly. Or one is, it would be

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Similar to a radio ad where we give them the
information and they post it and show it to us for
approval.

Q. Is any tracking done as to who is
accessing those job postings on the Internet?

A. Tracking? I'm not sure I understand your
question.

Q. Well, for example, my law firm, we have a
website and we can track each month how many hits we're

getting and actually where they're coming from

geographically.
A. I don't believe so, no.
Q. And what is outreach recruiting?
A. Outreach recruiting would mean recruiting

’ outside the community.

Q. And what about the use of employment
agencies? Have employment agencies ever been used for
hiring?

A. Yes.

Q. And when was that?

A. After the raid in 2006.

Q. It had not been done prior to that point?

A. I think that we gave a written answer.
Generally the answer is no. In a couple particular

locations, Santa Fe Springs, the answer is yes.

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Q. And why, in general terms, were employment

agencies not used in the past?

A. I don't know.

Q. That was not a decision you had any input
in?

A. We've never used them.

Q. Why did you start using them, then, in
particular in -- after the ICE raids?

A. Because we had a shortage of employees in
Cactus.

Q. So were employment agencies utilized just

for the Cactus plant or for other facilities, as well?

A. We -- you know, I don't know that I know
the answer to that.

Q. What, if anything, did Swift do to ensure
that these employment agencies were following
immigration laws in their hiring practices?

A. Well, I met with the group from the agency |
Manpower that we were going to bring in, and went
through a full version of Connect the Dots. I met with
them on-site to verify what their practices were. We
spent quite a bit of time on that.

Q. How were the employment agencies paid?
Were they paid per applicant or per hire or on an

hourly basis? Or how were they paid?

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A. I don't know that.

Q. Do you know who would know that?

A. Doug Schult I believe would be the best
person to answer that question.

Q. Aside from the actual application process
itself, what, if anything, did Swift do in its hiring
and recruiting efforts to discourage illegal aliens
from applying for positions at Swift?

A. I'm not sure I understand your question.

Q. I'm going to talk to you a little bit
later about when someone actually comes to Swift and
applies for a job, what the process is and what, if
anything, Swift does to make sure it doesn't hire
illegal aliens.

Setting that aside, what, if anything,
does Swift do, just in its marketing and its
interaction with these recruitment centers and its
outreach recruiting and employment agencies -- what
does it do, if anything, to prevent illegal aliens from
applying for jobs at Swift?

MR. YOULE: Objection to form. You can
answer if you understand the question.

A. I'm not sure I understand the question.

Q. I understand that once somebody shows up

at a Swift plant and starts to fill out an application,

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that there are certain procedures that Swift follows,
for example, Basic Pilot and Connect the Dots.
Correct?

A. That's correct.

Q. And some of those procedures are designed
to prevent illegal aliens from being hired, correct?

A. That's correct.

Q. And to prevent people who have committed

identity theft from being hired, correct?

A. I‘m not -- well, if we're talking about

being hired, it sounds to me like that's prehire.

Q. Right. I'm talking about -prehire now.
A. Then I'm not understanding your question.
Q. Okay. What I'm trying to figure out -- I

understand that once somebody shows up at a plant and
applies for a job, there are certain steps that Swift
takes to assist it in making sure that illegal aliens

are not hired. For example, Basic Pilot and Connect

the Dots, correct?

A. That's correct.

Q. What I'm trying to figure out is, is there
anything Swift does to discourage those people from
even showing up in the way that it recruits or
advertises or works with these outreach centers?

A. We work with legitimate state -- we go to

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State agencies, that sort of thing. We advertise

through legitimate regular channels, well known radio

Stations, newspapers.

Q. Does Swift ever put out the message that.
illegal aliens should not apply to their processing

facilities?

MR. YOULE: Objection to form. You can
answer.
A. I don't understand what you mean by that
question.
Q. Is there any effort to communicate to

potential job applicants before they arrive at a plant
that Swift is not interested in hiring illegal aliens?
A. Yes.
Q. And what is that?
A. We have postings in the Plant.

Q. Anything else?

A. I'm not sure I quite understand your
question, but I think that's —- would be one way that's
responsive.

Q. Does Swift also use employee referrals to

hire employees? One employee referring someone to the

plant?
A. Yes.

Q. And those employees who refer someone to

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the plant, are they paid some kind of bonus or do they
get any benefit from that?

A. Yes.

Q. What do they get?

A. Well, it depends on each plant's
particular hiring bonus program as to the dollar
amount, but there's a certain dollar amount.

Q. It's just a fixed one-time payment?

A. Each plant has -- would have the potential

to have a plan that might differ slightly from a

different plant.

Q. Do you know what the plan was in Cactus?

A. Not off the top of my head, no.

Q.. Have you ever heard of the term "coyote"?

A. Yes,

Q. And when I use that term, I mean people
that smuggle illegal aliens into the country.

A. Yes.

Q. Has Swift ever done any kind of internal
investigation to ensure that the people it's hiring
were not brought into this country by coyotes?

A. I don't understand the question.

Q. Does Swift undertake any efforts to ensure
that its job applicants are not people who came into

the country illegally through the aid of a coyote?

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A. I guess I don't understand that.
MR. PEARSON: Can you just reread the
question.
(The last question was read back as
follows: "Does Swift undertake any efforts to ensure

that its job applicants are not people who came into

‘the country illegally through the aid of a coyote?")

A. Can you give me an example?

Q. (BY MR. PEARSON) Well, has Swift ever
investigated whether any of its own employees are
interacting with coyotes to help bring in illegal
workers?

A. I guess I don't -- that's a little broad
for me.

MR. YOULE: You're distinguishing -- as I
understand the question, you're distinguishing the
situation of someone being brought in by a coyote as
opposed to all of Swift's efforts with respect to
vetting out potentially illegal aliens?

MR. PEARSON: Yes.

MR. YOULE: In other words, a particular
let's focus only on the coyote issue as opposed to
everything else?

MR. PEARSON: Yes, exactly.

A. I don't know that -- I don't know how we'd

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go about investigating whether coyotes exist. I don't

know how we'd --

Q. (BY MR. PEARSON) Has any Swift employee,
to your knowledge, ever been investigated for

interacting with a coyote?
A. Not to my knowledge.

Q. Let me ask you to look at -- I'll take

that book back from you. I'11 ask you to look at

Exhibit 1.
“A. Okay.
Q. These are interrogatory -- first

supplemental interrogatory answers. And I want to
direct you to interrogatory number 6 on page 9, if you
would, please.

A. Okay.

Q. And could you read that to yourself, and
I'm going to ask you some questions about it.

A. Okay.

(The deponent perused the exhibit.)
Okay.

Q. Is the answer to interrogatory number 6
contained in Exhibit 1 accurate, to the best of your
knowledge?

A. We supplemented that, but, yes.

Q. Let's go ahead and look at that

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supplementation, which I think is at Exhibit 2.

A. Okay.

Q. Did you have some role in supplementing
the answer to that interrogatory?

A. Yes.

Q. And what role was that?

A. Discussing, debating the language, as to
whether that was the best representation.

Q. And if you compare the answer to
interrogatory number 6 in Exhibit 1 to the answer in
Exhibit 2, you'll see that, looking at Exhibit 1, the
first sentence in the answer to interrogatory number 6
in Exhibit 1 says, "Swift employs uniform procedures
across all facilities to determine if a prospective
hourly employee has the legal right to be employed in
the United States." Did I read that accurately?

A. I'm sorry. I was looking at the
document.

Q. Okay. Going back to Exhibit 1.

A. Okay.

Q. The first sentence of the answer to
interrogatory number 6 in Exhibit 1 reads, "Swift
employs uniform procedures across all facilities to
determine if a prospective hourly employee has the

legal right to be employed in the United States." Did

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I read that accurately?
A. Yes.
Q. And that sentence was omitted in the

answer to interrogatory number 6 in Exhibit 2; is that

right?

A. That's correct.

Q. And why was that done?

A. I think that was an omission.

Q. Unintentional?

A. Unintentional.

Q. Okay. And looking also at the answer --
so that statement -- let me back up.

The statement that I read from the answer
to interrogatory number 6 in Exhibit 1, which said,
"Swift employs uniform procedures across all facilities
to determine if a prospective hourly employee has the
legal right to be employed in the United States," that
statement is accurate?

A. That's correct.

Q. And to the extent it was omitted in the
response to interrogatory number 6 in Exhibit 2, that
was unintentional?

A. That's correct.
Q. Looking at Exhibit 1, the same

interrogatory number 6, the last paragraph reads, in.

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part, "In 2006, the U.S. Department of Homeland
Security released the Image Program, a series of best
practices to be used by U.S. employers to maintain a
legal workforce. Almost immediately thereafter, Swift,
in partnership with a third-party contractor, Border
Management Strategies, developed Connect the Dots, a
set of procedures based upon the government's Image

Program. Swift implemented Connect the Dots in or

about August of 2006." Did I read that correctly?
A. Yes.
Q. If you compare that paragraph to the final

paragraph in interrogatory number 6 of Exhibit 2,
you'll see that the introductory portion of that that

talks about the Image Program has been deleted. Do you

see that?
A. Yes.
Q. Was that intentional or unintentional?
A. That was intentional.

Q. And why was that done?

A. It's a nuance difference, but it's a
timing issue.

Q. Can you explain that?

A. We -- we were looking to work with Border
Management Strategies, who knew about the Image

Program, but we were looking to work w.th them prior to

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any knowledge of the Image Program that was being
introduced. So it's related to the timing of knowledge
about the Image Program and our working with Border
Management Strategies to develop our own policies and
procedures. It's a nuance difference.

Q. And to this day, Swift has not joined the

Image Program, correct?

A. That's correct.

Q. Why was Border Management Strategies
hired?

A. Ongoing efforts to make sure that we're

fully compliant with employment eligibility and
identity verification procedures.
Q. Going back for a minute -~ we're not going
to talk about those just right now.
Going back for a minute to the hiring
practices of Swift, what, if anything, has Swift

historically done to assist potential job applicants

with transportation issues?

A. After the raids, we began busing people

from Amarillo to the Cactus facility.

Q. Had that ever happened prior to the raids?
A. Not to my knowledge.
Q. Were there other transportation

initiatives undertaken by Swift other than with respect

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to the Cactus facility?

A. Not to my knowledge.

Q. Were job --

A. I'm sorry. Yes.

Q. Okay. And what was that?

A. We had ride share, and we -- we instituted
ride share after the raids in Marshalltown.

Q. And what does that entail?

A. We promoted and facilitated employees
working together to carpool from Des Moines to the
Marshalltown facility.

Q. Were job applicants at any of the

production facilities reimbursed for bus transportation

to the plants?

A. Yes.
Q. And was that at more than one facility?
A. Yes, I think so.

Q. And did that happen prior to the ICE raids
or only after the ICE raids?

A. Well, that's happened prior to the ICE

raids and after.

Q. Focusing on the prior to the ICE raids,
was that a general practice or just an occasional
thing? Or how was that policy of reimbursement for

transportation handled?

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A. That was a -- rare would be a better word.
Q. And on what occasions was that done?
A. If.we needed a staffing -- if we hada

staffing issue potentially in a plant, and we had to
recruit, say, more than 60 miles away. An individual
plant may make the decision to reimburse either mileage

or something of that nature for somebody to drive to

the facility.

Q. Okay. And what about relocation expenses?
Has Swift paid those for potential employees?

A. Yes.

Q. And when has that been done?

A. Again, rarely prior. Afterwards, we had,

of course, more frequent.

Q. And what type of relocation expense

reimbursement was there?
A. It was mileage would be common. Meal
tickets or some kind of reimbursement for food

expenses. Maybe a short period of time of housing.

Q. Housing meaning you paid their rent?
A. Generally staying in a motel.
Q. Did Swift also subsidize the rent for some

of its workers?

A. I believe that that has been done. And

subsidize, I mean an initial payment toward getting

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somebody into an apartment.

Q.
raids?
A.

Q.

Was that done both before and after the

Yes.

And what about working with local builders

to help subsidize them to actually build additional

living facilities? Has that been done?

A.
Q.
the raids?
A.
Q.

A.

Q.

A.

Yes.

And was that done both before and after

No.

Just after the raids?

Yes.

And where was that done?

In Cactus.

And explain how that worked.

There was a tornado in the town of Cactus

that destroyed 300 homes. And so we were busing people

from Amarillo. So we helped to incentivize some

builders to repair, rebuild, or build new places.

Q.

Has Swift ever had dormitories or any

other kind of residential facility that it owned or

operated for its workers?

A.

Q.

No.

Any other assistance for job applicants

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other than transportation or housing, the things we've

already talked about?

A.

Q.

I don't believe so, no.

Were you involved in the decision to hire

Border Management Strategies?

A.
Q.
‘that was?
A.
Q.
A.

Q.

No.

Do you know who did that? Whose decision

Yes.
Who was that?
That was Doug Schult.

And who was the principal of Border

Management Strategies?

A.
Q.
A.

Q.

Mark Reed.

Have you interacted with him personally?

Yes.

Do you know what his experience or

background is?.

A.

Q.

A.

Yes.
What is it?

He was the district director for

immigration for a 19-state area.: I think he was also

in charge, at one point, of the El Paso intelligence -

center.

Q.

He was a high ranking immigration official.

Do you consider him knowledgeable on

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immigration issues?

A. Yes.

Q. And knowledgeable about the hiring and
employment of illegal aliens, issues relating to that?

A.- Yes.

Q.. Let me ask you to turn to Exhibit 18, if
you would, in your notebook.

A. Okay.

Q. This is from an Internet article. And if
you'll look at the third paragraph of Exhibit 18, it
reads, "The meat packing industry has become dependent
on an unauthorized labor force,. and it is not good
government to destroy an entire industry. In some way,
there is going to be a meeting of the minds, said Mark
Reed, a former immigration regional director who now

runs his own consulting business, Border Management

Strategies, in Tucson, Arizona." Did I read that
correctly?
AL Yes.

Q. That first part of Mr. Reed's statement,
"The meat packing industry has become dependent on an
unauthorized labor force," do you agree or disagree

with that statement?
MR. YOULE: Objection to form.

A. I have no way of knowing what he bases

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that information on.

Q. Well, do you agree that that's an accurate
statement?
A. I can't agree or disagree without knowing

how or what he makes his opinion on.

—Q. Okay. Well, putting aside what Mr. Reed
said, do you agree or disagree that the meat packing
industry has become dependent on an unauthorized labor
force?

A. Personally, I disagree.
Q. Do you disagree that -- strike that.
Isn't it true that prior to the ICE raids
in December 2006, that at least 10 percent of Swift's
workforce at its processing facilities was composed of
illegal aliens?
A. Not to my knowledge.
MR. YOULE: Objection to form for lack of
foundation.
Q. Isn't it true that prior to the ICE raids
in December 2006, at least 10 percent of Swift's
employees in its production facilities were people who

committed identity theft?

MR. YOULE: Same objection. You can

answer.

A. Not to my knowledge.

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Q. The 1300 or so employees that were
arrested by ICE in the raids and whose jobs were
terminated, do you know why they were arrested?

A. Do I know why?

Q. Yes.

A. No, I don't know why.

Q. well, why did Swift terminate those

employees?

A. Why did Swift terminate them?

Q. Yes.
A. Because immigration gave us a list of
names that they believe -- that they had taken from the

plants and that they believed were engaged in identity
fraud. And so we terminated those people.

Q. And if Swift did not believe those people
had committed identity theft, they wouldn't have
terminated them, correct?

A. That's correct.

Q. And it's true, isn't it, that identity
theft by employees at the Swift plants was typically

committed by illegal aliens? Isn't that true?

MR. YOULE: Objection to form for lack of

foundation.
A. I don't know.
Q. You don't know whether most of the people

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who Swift terminated for committing identity theft were

illegal aliens?

MR. YOULE: Same objection.

A. I don't know.

Q. Do you have a belief?

A. I don't have any belief. No basis for my
belief.

Q. The people -- I mean, we'll look at the

list later, but all of the people that were terminated
by -- well, aimost all the people that were terminated
by Swift as a result of the ICE raids had Spanish

surnames, correct? Hispanic surnames?

A. All?.-

Q. The vast majority.

A. I don't know.

Q. You've never looked at the list?

A. I have.

Q. Do you deny that there's connection
between identity theft and illegal alien status?

MR. YOULE: Objection to form. Could you

rephrase that?

Q. I'm just trying to understand why you are
arguing with the notion that these people who committed
identity theft were, for the most part, illegal aliens.

MR. YOULE: Objection to form. You're

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1 assuming that they committed identity theft. What he
2 testified is that that's what the government told
3 Swift. There's a big difference there.
4 MR. PEARSON: That's fine.
5 Q. (BY MR. PEARSON) You don't just
6 terminate employees because someone makes an accusation
7 unless you think there's some merit to that accusation;
8 isn't that right?
9 A. That's correct.
10 Q. For example, we'll look at some documents
11 here later. Swift will get anonymous tips from someone
12 saying Jose Morales in your plant is an illegal alien
13 as an example. Those kind of tips come in, correct?
14 A. That's correct.
15 Q. And Swift doesn't just terminate Jose
16 Morales; they investigate it first, right?
17 A. That's correct.
18 Q. And if they believe he's committed
19 identity theft or is an illegal alien, they terminate
20° him. And if they don't believe that, they don't
21 terminate him, right?
22. A. No.
23 QO. That's not correct?
24 A. That's not correct.
25 Q. Okay. What was wrong about my statement?

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What was inaccurate?

A. If an employee admits that they've been
engaged in identity theft, then we will terminate them.
If the employee doesn't admit it, but we have doubts,
we'll refer them to the Social Security Administration
to verify that information. The Social Security
Administration will verify that that person is indeed
authorized to work or that person will not return to
work.

Q. The 400 or so employees that were
terminated in or about October 2006 by Swift, why were
they terminated?

A. I‘m sorry. I apologize. I missed that

question.
Q. Let me start over.

In or about October of 2006, prior to the
ICE raids, Swift terminated -- strike that.

In or about October 2006, about 400 or so
employees of Swift either voluntarily quit or were
terminated from their employment as a result of an
investigation that was conducted and assessment of
their application papers, correct?

A. That's correct.
Q. And why were these 400 or so people -- the

ones that were terminated by Swift, why were they

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terminated?

A. Because they admitted to identity theft.

Q. And the 1300 or so that --

A. Let me rephrase that.
Q. Sure.
A. You've been using the word identity theft.

They admitted that they weren't who they said they

were.

Q. And the 1300 or so employees of Swift that
were terminated as a result of the ICE raids were also
suspected of having committed identity theft, correct?

A. Suspected by?

oO. Swift.

A. By Swift?

Q. Yes.

A. No.

Q. Suspected by who?

A. Immigration arrested the people.

Q. Right.

A. Immigration told us that they weren't
authorized. So if -- I suppose immigration, based upon

their investigation, suspected it.

Q. And Swift had no reason to doubt that

belief by ICE, correct?

A. Immigration told us, this is the list of

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people that we've taken, and we believe that they're
not authorized to work and terminated them.
Q. Did it concern you, in your position as

director of corporate compliance, that in the October

’ to December 2006 time frame, more than 10 percent of

the employees at Swift's production facilities were
terminated or quit because of issues relating to
illegal immigrant status or possible identity theft?

MR. YOULE: Objection to form for lack of

foundation.
A. Would you rephrase the question?
MR. PEARSON: Can you read it back,
please.
(The last question was read back as
follows: "Did it concern you, in your position as

director of corporate compliance, that in the October
to December 2006 time frame, more than 10 percent of
the employees at Swift's production facilities were
terminated or quit because of issues relating to

illegal immigrant status or possible identity

theft?")
A. No.
Q. Why did it not concern you?
A. Because we've done everything that we've

been able to do to verify the employment eligibility

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and identity of our employees.

Q. Well, Swift's efforts in that regard were
stepped up dramatically after it received the subpoenas

from ICE in March of 2006, correct?

MR. YOULE: Objection to form.

A. No.

Q. When was Connect the Dots instituted?

A. After we engaged Border Management
Strategies.

Q. Which was when?

A. Which was prior to receiving any
subpoenas.

Q. Connect the Dots was actually implemented

as a program sometime after March 2006, correct?

A. The implementation involved the
development, the discussions, the planning. And all of
that was over a time continuum. The actual full |
rollout was in August. I believe that's correct.

Q. Of 2006?

A. Of 2006.

~Q. And Swift provided training to its
employees on various issues relating to identity theft
in that March, April, May 2006 time frame, correct?

A. I don't recall the dates of the training.

I don't think it was March, April, May.

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Q. Was it June of '06?

A. I'm thinking it was more summer, but I
don't -- I don't recall specifically the date.

Q. Summer of 2006?

A. Yes.

Q. - And is that training that had not been
given previously?

A. Part of the training had been given
previously. Part of it was an expansion.

Q. And the role that Border Management
Strategies took on was a much broader role than Swift's
prior consultant, Mr. McClure, had had; isn't that
right?

A. That's right.

Q. When was the contractually signed with
Border Management Strategies?

A. I don't know.

Q. Was it in 2006?.

A. Yes.

Q. Was it after March of 2006?

A. I don't know.

Q. Prior to 2006, what level of employee was
allowed to actually hire someone? Did you have to be a

manager? Or what was the position of the people doing

the hiring?

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A. We have employment managers at most of our
locations.

Q. Were they doing all the hiring?

A. In most cases, the employment manager was
the person doing the hiring. And sometimes there would
be two or three people involved in that activity,
depending on the size of the plant and the applicant
flow.

Q. Anyone else?

A. No.

Q. And I'll find it later when we're talking,
but I thought I saw something in Swift's written
materials about some of the steps they were taking in
2006 that they were narrowing the number or position of
people who could do hiring. Do you remember -- does

that ring a bell to you?

A. I don't believe that narrowing is the
word.

Q. Well, what word would you use?

A. We were -- I don't know that we had that

concept exactly, so --

Q. There was no change in the number or types

or level of employees who could do hiring?

A. Well, we had -- no. In 2006, not until

after the raids we didn't have a change.

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